
PER CURIAM.
We have carefully reviewed the voluminous record and considered each of the several points on appeal, facilitated by the excellence of appellate briefs and argument. As to each of appellant’s points we conclude either that no error exists or, where error is made to appear, that it was harmless, with the exception of that part of the sentence which imposed a fine “jointly and severally” upon several individuals. Appellant could have been fined a sum not in excess of $10,000 under Section 775.-082(3)(c), Florida Statutes (1981). We vacate the present fine and remand for imposition of an appropriate fine which shall not be joint and several.
Upon remand, the imposition of an appropriate fine is a sentencing under the provisions of Section 775.083 Florida Statutes (1981), and Dolan at such time is entitled to the sentencing rights articulated in State v. Scott, 439 So.2d 219 (Fla.1983).
Accordingly, we affirm in part and reverse in part and remand.
HERSEY, GLICKSTEIN and WALDEN, JJ., concur.
